Case 1:21-cv-01506-DDD-JPM Document 15 Filed 11/16/21 Page 1of1PagelD#: 132

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

ALEXANDRIA DIVISION
JOSEPH G SHERRICK #11487-035, CIVIL DOCKET NO. 1:21-CV-01506
Plaintiff SEC P
VERSUS . JUDGE DRELL
WARDEN MARINDINO ET AL, MAGISTRATE JUDGE PEREZ-MONTES

Defendants

 

JUDGMENT

For the reasons contained in the Report and Recommendation of the
Magistrate Judge previously filed herein (ECF No. 14), noting the absence of
objections thereto, and concurring with the Magistrate Judge’s findings under the
applicable law;

IT IS HEREBY ORDERED that the Complaint and Amended Complaints
(ECF Nos. 1, 5, 18) are DENIED and DISMISSED WITH PREJUDICE under 28
U.S.C. § 1915A.

The Clerk of Court is instructed to send a.copy of this Judgment to the keeper
of the three strikes list in Tyler, Texas.

wpe
THUS, DONE AND SIGNED at Alexandria, Louisiana, this /G day of

CFS

DEE D. DRELL, JUDGE
UNITED STATES DISTRICT COURT

November 2021.

 
